
66 So.3d 354 (2011)
Keion CHAMBERS, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-517.
District Court of Appeal of Florida, Third District.
July 20, 2011.
Keion Chambers, in proper person.
Pamela Jo Bondi, Attorney General, and Lunar C. Alvey, Assistant Attorney General, for appellee.
*355 Before SUAREZ, CORTIÑAS, and EMAS, JJ.
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial, this Court must reverse unless the post-conviction record, see Fla. R.App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(D).
The appellant's motion raised six separate grounds for relief. Although we affirm the trial court's denial as to the first two grounds for relief sought by the appellant, because the record now before us fails to make the required showing as to the remaining four issues raised in the motion, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to any relief.
Reversed and remanded for further proceedings.
